                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE


UNITED STATES OF AMERICA                           )
                                                   )
v.                                                 )      Case No. 2:19-CR-065
                                                   )               2:20-CR-057
                                                   )
LANCE HOWARD HUGLEY                                )


                                         ORDER

       On August 31, 2020, United States Magistrate Judge C. Clifford Shirley conducted

a change of plea hearing and filed a Report and Recommendation (“R&R”) recommending:

(1) that the Court find that the plea hearing in this case could not be further delayed without

serious harm to the interests of justice; (2) that the defendant’s plea of guilty to the charge

in Count One of the information in Case No. 2:20-CR-057 be accepted; (3) that the

defendant be found guilty of that charge; (4) that a decision on whether to accept the plea

agreement be deferred until sentencing; and (5) that the defendant remain in custody until

his sentencing hearing. [Case No. 2:20-CR-065, doc. 35; Case No. 2:20-CR-057, doc. 8].

No objections have been filed to the R&R, and the time for doing so has now passed. See

Fed. R. Crim. P. 59(b)(2).

       The Court has thoroughly reviewed the R&R. Having done so, Magistrate Judge

Shirley’s R&R [Case No. 2:20-CR-065, doc. 35; Case No. 2:20-CR-057, doc. 8] is

ACCEPTED and ADOPTED in full.




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      Pursuant to 28 U.S.C. § 636(b)(1), it is ORDERED that:

      1. The plea hearing conducted in this case on August 31, 2020, could not
      have been further delayed without serious harm to the interests of justice;

      2. The defendant’s plea of guilty to the charge in Count One of the
      information in Case No. 2:20-CR-057, that is, of possessing a firearm while
      an unlawful user or addict of a controlled substance, in violation of 18 U.S.C.
      § 922(g)(3) is ACCEPTED;

      3. The defendant is ADJUDGED guilty of Count One of the Information in
      Case No. 2:20-CR-057;

      4. The decision whether to accept the parties’ plea agreement is
      DEFERRED until sentencing; and

      5. The defendant shall remain in custody until sentencing, which is
      scheduled to take place on Tuesday, January 5, 2021, at 10:30 a.m. in
      Knoxville.

             IT IS SO ORDERED.

                                                        ENTER:



                                                               s/ Leon Jordan
                                                         United States District Judge




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